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  (17-2-CL) (Part 17-2- CL) Appellants' March 12, 2025 filing of the Rule 59(e) Motion to Vacate
  the March 10, 2025 Order (MLB), addressed to the Office of the District Clerk, Northern
  District of Georgia (NOGA):


 ECE\VED IN CLERK'S orncE
R u.s.o.c .. Atlanta      The Office of Ulysses T. ware
    MAR 19 2025                         123 Linden Blvd., Ste 9-L
  KEVIN P . WEIMER, Clerk                 Brooklyn, NY 11226
  B~ ~ C lerk                                (718) 844-1260
                                         utware007@gmail.com

                                       Wednesday, March 12, 2025

  Via Certified Mail, Electronic Mail, and U.S. Mail
  Certified Mail No.: 7022 0410 00011417 8798

  Office of the Clerk of Court
  United States District Court
  Northern District of Georgia
  Richard B. Russell U.S. Courthouse
  75 Ted Turner Drive, SW
  Atlanta, Georgia 30303

  Re: Ware, et al. v. Alpha Capital, AG, et al.
  Case No. 1:25-cv-00613-MLB (NDGA)
  Appellants' Rule 59(e) Motion to Vacate March 10, 2025 Order (0kt. 6)

  Dear Clerk of Court:

  Please find enclosed for filing and docketing in the above-referenced matter the following:

     1. Appellants' Rule 59(e) Motion to Vacate Dkt. 6, March 10, 2025 Order- with
          supporting memorandum, factual exhibits, and certificate of service.

 This submission is respectfully made pursuant to Rule 59(e) of the Federal Rules of Civil
 Procedure, challenging the March 10, 2025, Order (Dkt. 6) of the Honorable Michael L. Brown
 dismissing Appellant Group Management, a sole proprietorship, on grounds that are factually
 and legally erroneous.

 Appellants respectfully submit that the Court's dismissal of Group Management was based on a
 factual misapprehension of the record and overlooked binding federal statutory law (28



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 (17-2--CL) (Part 17-2) re: Appellants' Rule 59(e) application to vacate March 10, 2025, Dkt. 6, Order
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U.S.C. § 1654) and Supreme Court precedent (see Rowland v. Cal[fornia Men's Colony , 506
U.S . 194 (1993)), which expressly recognize the right of a sole proprietor to proceed pro se.

As detailed in the attached Rule 59(e) motion and supporting exhibits, Appellants timely complied
with 0kt. 4, Order, including the February 25, 2025, filing of an entry of appearance by Ulysses
T. Ware, d/b/a Group Management. These filings were timely submitted via U.S. Mail and email
to Chambers, and the Court' s contrary conclusion, without addressing these record filings,
constitutes clear error warranting reconsideration and vacatur.

Accordingly, Appellants respectfully request that the Court vacate 0kt. 6, recognize the lawful pro
se representation of Group Management as a sole proprietorship, and grant such other relief as just
and proper.

Please file and docket this submission promptly in the above-captioned case.

Should there be any issues with processing or docketing this submission, kindly contact me directly
at (718) 844-1260 or via email at utwarc007@gmail.com.

Thank you for your attention and courtesies in this matter.


t)JJ1t~ll~ ~b~ ~
1s'tb~T. Ware                   ·
Ulysses T. Ware
Attorney in Fact for Appellants
Ulysses T. Ware and d/b/a Group Management (a sole proprietorship)

Enclosures:

   •    Appellants' Rule 59(e) Motion to Vacate March 10, 2025 Order (Dkt. 6), with exhibits
   •    Certificate of Service



cc (via Email):

   •    Hon. Michael L. Brown, U.S . District Judge
   •    All Counsel of Record (per email)
   •    U.S. Trustee, Region 21
   •    Appellees




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(MLB)
